          Case 5:19-cv-00336-G Document 17 Filed 11/14/19 Page 1 of 1




                 UNITED STATES DISTRICT COURT FOR THE
                    WESTERN DISTRICT OF OKLAHOMA

UNITED STATES OF AMERICA,   )
                            )
    Plaintiff,              )
                            )
v.                          )                   Case No. CIV-19-336-G
                            )
LAFORGE & BUDD CONSTRUCTION )
COMPANY, INC.,              )
                            )
    Defendant.              )

                                        ORDER

      Now before the Court is Defendant’s Notice to Withdraw (Doc. No. 16), seeking to

withdraw the Motion for Preservation of Evidence filed in this matter on October 11, 2019.

For good cause shown, the Notice to Withdraw is GRANTED.                The Motion for

Preservation of Evidence is deemed WITHDRAWN without prejudice to refiling.

      IT IS SO ORDERED this 14th day of November, 2019.
